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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION


THE ARC OF IOWA et al.,                        Case No. 4:21-CV-00264-RP-SBJ

Plaintiffs,

v.
                                                    NOTICE OF APPEAL
KIM REYNOLDS, in her official
capacity as Governor of Iowa, et al.

Defendants.


      Notice is hereby given that Defendants Governor Kim Reynolds and Ann Lebo

in the above-captioned case hereby appeal to the United States Court of Appeals for

the Eighth Circuit from the district court’s order granting Plaintiffs’ motion for a

preliminary injunction entered in this action on the 8th day of October, 2021.

      That order is appealable as an interlocutory order under 28 U.S.C. 1292(a)(1)

because the district court granted an injunction.

                                       Respectfully submitted,

                                       THOMAS J. MILLER
                                       Attorney General of Iowa

                                       JEFFREY S. THOMPSON
                                       Solicitor General

                                       /s/ Samuel P. Langholz
                                       SAMUEL P. LANGHOLZ
                                       Assistant Solicitor General
                                       Iowa Department of Justice
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                             ATTORNEYS FOR DEFENDANTS
                             GOVERNOR KIM REYNOLDS AND
                             ANN LEBO


                                                PROOF OF SERVICE
                               The undersigned certifies that the foregoing instrument was
                              served upon all parties of record by delivery in the following
                              manner on October 8, 2021:

                                 U.S. Mail                            Email
                                 Hand Delivery                        Overnight Courier
                                 Federal Express                      Other
                                 CM/ECF

                             Signature: /s/ Samuel P. Langholz




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